            Case 1:20-cv-07908-LLS Document 11 Filed 02/05/21 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK
MELVIN OWENS, on behalf of himself and all
others similarly situated,
                                                        Case No. 1:20-cv-07908-LLS
                               Plaintiff,

       v.                                               NOTICE OF VOLUNTARY DISMISSAL
                                                        WITHOUT PREJUDICE PURSUANT
BIOLIFE ENERGY SYSTEMS SOLUTIONS                        TO FED. R. CIV. P. 41(a)(1)(A)(i)
INC.,

                               Defendant.



       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Melvin

Owens, by and through his undersigned counsel of record, hereby dismisses his claims against
Defendant without prejudice.



Dated: February 5, 2021                       BURSOR & FISHER, P.A.

                                              By:    /s/ Yitzchak Kopel

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